Case 1:06-cv-00098-DLH-CSM Document 1-5 Filed 12/14/06 Page 1 of 2

Exhibit D
Case 1:06-cv-00098-DLH-CSM Document1-5 Filed 12/14/06 Page 2 of 2

Int. Cl.: 39
Prior U.S. Cls.: 100 and 105

United States Patent and Trademark Office

Reg. No. 2,425,286
Registered Jan. 30, 2001

SERVICE MARK
PRINCIPAL REGISTER

NORTHWEST AIRLINES WORLDVACATIONS

NORTHWEST AIRLINES, INC. (MINNESOTA COR-
PORATION)

5101 NORTHWEST DRIVE

ST. PAUL, MN 551113034

FOR: TRAVEL AGENCY SERVICES, NAMELY,
MAKING RESERVATIONS AND BOOKINGS TRANS-
PORTATION; ARRANGING OF TRAVEL TOURS, IN
CLASS 39 (U.S. CLS. 100 AND 105).

FIRST USE 9-4-1998; IN COMMERCE 9-4-1998,

OWNER OF U.S. REG. NOS. 841,037, 2,264,931
AND OTHERS.

NO CLAIM IS MADE TO THE EXCLUSIVE RIGHT
TO USE “AIRLINES”, APART FROM THE MARK
AS SHOWN.

SER. NO. 75—937,760, FILED 3-7-2000.

JEFFREY S. MOLINOFF, EXAMINING ATTORNEY
